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                         ***NOT PRINTED FOR PUBLICATION***

                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                        '
                                                '
V.                                              '   CASE NO. 9:17-CR-11
                                                '
CHESTER RAY STITTS, JR.                         '

              ORDER ACCEPTING REPORT AND RECOMMENDATION
                  ON DEFENDANT’S MOTION FOR RELEASE

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for consideration of Defendant’s motion for compassionate release (Doc. No. 45). On

September 29, 2020, Judge Giblin issued his Report and Recommendation (Doc. No. 49). Judge

Giblin recommended that the Court deny Mr. Stitts’ motion seeking release.

       Mr. Stitts received the report on October 7, 2020 (Doc. No. 50). The parties have not filed

objections to date. The Court ORDERS that the Report (Doc. No. 49) is ACCEPTED. The

Court incorporates Judge Giblin’s findings and recommended disposition in support of this order.

Defendant Chester Ray Stitts, Jr.’s motion for compassionate release (Doc. No. 45) is DENIED.



        So Ordered and Signed
        Nov 6, 2020
